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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA
                                                        Criminal Action No. 21-36-CFC
       v.

NYASHIA CORYABA,

                Defendant.


 GOVERNMENT’S RESPONSE TO DEFENDANT’S SENTENCING MEMORANDUM

       For more than a decade Defendant, Nyashia Coryaba, failed to comply with her legal

obligations not only to the United States, but to her many employees. Week after week, month

after month, and year after year, she would withhold taxes from her employees’ paychecks under

the pretense that she was paying those taxes over to the federal and state governments, but

instead put the money to her own personal use. As a result of her willful failure to pay over

more than $700,000 in these taxes, Defendant now faces a sentencing guidelines range of 30-37

months imprisonment. Defendant has filed a motion for a departure, pursuant to United States

Sentencing Guidelines § 5H1.6, citing extraordinary family circumstances, and has further

requested a variance to a probationary sentence. After careful consideration of the

particularized facts of this case, and as set forth more fully below, the government respectfully

requests that the Court deny Defendant’s motion for a departure. The government, however,

agrees that a variance from the advisory guidelines range is appropriate in light of the Section

3553(a) factors and respectfully requests that the Court sentence Defendant to fifteen months

imprisonment.
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       I.      Defendant’s Family Circumstances Do Not Support A Guidelines Departure.

       The United States Sentencing Guidelines unequivocally state that “family ties and

responsibilities are not ordinarily relevant in determining whether a departure may be warranted,”

U.S.S.G. § 5H1.6 (2018 Edition).         While Defendant undoubtedly has substantial family

responsibilities, she has failed to demonstrate why the loss of Defendant’s caretaking support,

“substantially exceeds the harm ordinarily incident to incarceration for a similarly situated

defendant.” U.S.S.G. § 5H1.6, Application Note (B)(ii). Defendant roots her request in the

assistance she provides to her daughter and granddaughter as well as her legal guardianship for her

two grandnieces, ages six and twelve. (D.I. 31 at 9-11.) Defendant removed her grandnieces,

whose mother suffers from addiction issues, from the foster care system in South Carolina and

four years ago brought them to live with her in Delaware. Defendant is a single mother to these

girls, and the children appear to be doing well in her care, despite the significant challenges of

their past. While the government appreciates that any term of Defendant’s incarceration will

impact these children, sadly, these effects do not make Defendant’s circumstances different than

many other defendants who appear before the Court.

       Defendant sentencing submission demonstrates that while her family responsibilities are

substantial, so too is her network of relatives and friends who care deeply for her. In many ways,

this suggests she is better situated than many single parents who face terms of imprisonment.

Defendant may need to call upon this network to stand in her place should the Court impose a

sentence of incarceration. Again, this does not make Defendant’s situation so unique that it

should be the basis of a guidelines departure. Accordingly, the government respectfully requests

that the Court deny the motion for a downward departure pursuant to U.S.S.G. § 5H1.6 based on

family ties and responsibilities and instead consider these circumstances in the context of a request
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for a variance.

       II.        Defendant Should Be Sentenced to a Term of Imprisonment of Fifteen Months
                  in Light of the Section 3553(a) Factors.

       The government submits that a sentence of fifteen months imprisonment is sufficient, but

not greater than necessary, to meet the goals of sentencing. The government begins its analysis

with the nature and circumstances of the offense- here Defendant’s decade-long scheme to subvert

her tax obligations. While Defendant portrays her problem as more akin to being overwhelmed

by running a business instead of being truly criminal in nature, this argument ignores her deliberate

and decade-long pattern of utter failure to pay over taxes and her misuse of withheld funds to offset

personal expenses. While the administrative responsibilities of owning and running a business

may be many, those responsibilities do not excuse her actions. Defendant knew how to, and in

fact did, withhold tax payments from her employees. She knew how to, and in fact did, collect

the relevant money, but then failed to take the clear and logical next step to pay those collected

funds over to the government. Over the course of ten years, such conduct can only be fairly seen

as deliberate and calculated. Defendant benefitted from her conduct by utilizing the money

withheld from her employees’ paychecks to supplement her income. That Defendant stopped

filing and paying her personal income taxes at the same time shows more than an oversight, but

instead a flagrant disregard for our tax laws. Failing to appropriately contribute to the tax system-

specifically one that funds employment, social security and Medicare payments- must be regarded

as a serious offense.

       While the seriousness and duration of the instant offense suggests that a guideline sentence

would be appropriate here, the personal history and characteristics of Defendant militate against

this. Although much of the information in the PSR remains unverified, it is clear that Defendant

has not had an easy life. Despite this, Defendant grew and operates a successful home healthcare
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business, employing nearly 80 people. She has formed successful relationships in her church and

her community more broadly. Not only do her two adult children clearly admire and love her,

she provides ongoing support for her daughter’s substantial health issues. When her daughter is

unwell, Defendant cares for her teenage granddaughter. As discussed supra, she also obtained

legal guardianship of two grandnieces, removing them from the foster care system.

       While these relationships will undoubtedly be disrupted by a term of incarceration, some

term of imprisonment is warranted not only by the seriousness of the offense, but also to promote

respect for the law, to provide just punishment, and to address both specific and general deterrence.

Here, Defendant’s post-indictment conduct suggests that she may not have fully grasped the import

and consequences of her criminal conduct. As noted in the PSR, Defendant purchased a 3,100

square foot home in the month following her indictment for $450,000. (PSR at ¶ 76.) While she

originally entered into the contract to buy the home prior to being indicted, she proceeded with the

purchase thereafter and made a $90,000 down payment on the home despite being aware of her

substantial financial arrearages to the IRS.

       Similarly, restitution appears to be of low priority.       In her sentencing memoranda,

Defendant represented that she had skimped and saved to be able to contribute $2,000 towards

restitution. (D.I. 31 at 12.) The government raised questions about this upon belatedly receiving

Defendant’s financial affidavit showing approximately $500,000 held in various business bank

accounts and now understands that Defendant intends to make a substantial restitution payment

against the nearly $600,000 due to the IRS and $172,000 owed to the State of Delaware.

Defendant failed to proactively attempt to mitigate her liabilities at the same time she has asked

this Court to sentence her to a term of probation.        Some further sanction is warranted to

accomplish the goals of sentencing.
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       Defendant’s serious and enduring criminal conduct, personal history and characteristics,

and her post-offense conduct collectively suggest that a sentence of 15 months imprisonment is

sufficient, but not greater than necessary, to accomplish the goals of sentencing as set forth in

Section 3553(a). For the foregoing reasons, the government respectfully requests that the Court

impose such a sentence.

                                        Respectfully Submitted,



                                        DAVID C. WEISS
                                        United States Attorney


                                     By: /s/Lesley F. Wolf
                                        Lesley F. Wolf
                                        Assistant United States Attorney




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